                                                                                  Case 1-18-45660-cec             Doc 1     Filed 10/01/18      Entered 10/01/18 12:10:22


                                                                                                              United States Bankruptcy Court
                                                                                                       Eastern District of New York, Brooklyn Division

                                                                   IN RE:                                                                                Case No.
                                                                   Jr, Joseph Palacino, & Palacino, Rose M.                                              Chapter 7
                                                                                                          Debtor(s)

                                                                                                         VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of creditors) is true and
                                                                   correct to the best of their knowledge.


                                                                   Date: September 29, 2018                     /s/ Joseph Palacino, Jr
                                                                                                                Debtor


                                                                                                                /s/ Rose M. Palacino
                                                                                                                Joint Debtor


                                                                                                                /s/ Kevin Zazzera
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                                                                                                                Attorney for Debtor
Case 1-18-45660-cec   Doc 1   Filed 10/01/18   Entered 10/01/18 12:10:22




Arstrat, LLC
PO Box 33720
Detroit, MI 48232-3720


Cap One Auto
3901 Dallas Pkwy
Plano, TX 75093-7864


Capital One
15000 Capital One Dr
Richmond, VA 23238-1119


Capital One
Attn: Bankruptcy
PO Box 30285
Salt Lake City, UT       84130-0285


Capital One Auto Finance
Attn: Bankruptcy
PO Box 30285
Salt Lake City, UT 84130-0285


Convergent healthcare recoveries Inc
PO Box 9800
Coral Springs, FL 33075-0800


Convergent healthcare recoveries Inc
PO Box 6209
Champaign, IL 61826-6209
Case 1-18-45660-cec   Doc 1   Filed 10/01/18   Entered 10/01/18 12:10:22




Frank Scafuri, III D O ,PC
682 Forest Ave
Staten Island, NY 10310-2507


Frd Motor Cr
PO Box BOX542000
Omaha, NE 68154


Healtcare Associates in Medicine PC
2535 Arthur Kill Rd
Staten Island, NY 10309-1207


Lenox Hill Hospital
PO Box 5900
New York, NY 10087-5900


Lenox Hill Hospital
PO Box 9000
New Hyde Park, NY 11040-9000


Lincoln Automotive Financial Service
Attn: Bankruptcy
PO Box 542000
Omaha, NE 68154-8000


New York Presbyterian Hospital
PO Box 9126
New York, NY 10087-2126
Case 1-18-45660-cec   Doc 1   Filed 10/01/18   Entered 10/01/18 12:10:22




New York Presbyterian Hospital
PO Box 14000
Belfast, ME 04915-4033


New York State Dept of Taxation & Financ
PO Box 5300
Albany, NY 12205-0300


New York University Physician Services
PO Box 415662
Boston, MA 02241-5662


North Shore University Hospital
PO Box 27681
New York, NY 10087-7681


Northwell Health
PO Box 29772
New York, NY 10087-9772


Northwell Health Physician Partners
PO Box 28372
New York, NY 10087-8372


Nortwell Health
PO Box 27681
New York, NY 10087-7681
Case 1-18-45660-cec   Doc 1   Filed 10/01/18   Entered 10/01/18 12:10:22




NSLIJ
PO Box 28372
New York, NY     10087-8372


NYC Dept of Finance Parking Violations
Church Street Station
PO Box 3615
New York, NY 10008-3615


Physicians of University Hospital
1 Edgewater St Fl 6
Staten Island, NY 10305-4900


Pmichaelmk
15916 Union Tpke Ste 302
Flushing, NY 11366-1955


Professional Claims Bureau Inc
PO Box 9060
Hicksville, NY 11802-9060


Richmond University Medical Ctr
PO Box 711565
Newark, NJ 07101


Rubin & Rothman
1787 Veterans Hwy
Islandia, NY 11749-1500
Case 1-18-45660-cec   Doc 1   Filed 10/01/18   Entered 10/01/18 12:10:22




Shiel Medical Labs
15916 Union Tpke Ste 302
Flushing, NY 11366-1955


Staten island University Hospital
PO Box 29772
New York, NY 10087-9772


Trans Coninental Credit
PO Box 5055
White Plains, NY 10602-5055


Trans-Continental Credit & Collection Co
PO Box 5055
White Plains, NY 10602-5055


Transworld Systems INC- HCARE1
PO Box 15273
Wilmington, DE 19850-5273


Transworld Systems INC-KGPORT
PO Box 15273
Wilmington, DE 19850-5273


U.S. Department of Education
ECMC/Bankruptcy
PO Box 16408
Saint Paul, MN 55116-0408
Case 1-18-45660-cec   Doc 1   Filed 10/01/18   Entered 10/01/18 12:10:22




US Dept Ed
PO Box 4222
Iowa City, IA     52244-4222


Wells Fargo Home Mor
Attn Bankruptcy Dept
PO Box 10335
Des Moines, IA 50306-0335


Wfhm
8480 Stagecoach Cir
Frederick, MD 21701-4747
                                                                                     Case 1-18-45660-cec              Doc 1      Filed 10/01/18          Entered 10/01/18 12:10:22
                                                                   B201B (Form 201B) (12/09)

                                                                                                                   United States Bankruptcy Court
                                                                                                           Eastern District of New York, Brooklyn Division

                                                                   IN RE:                                                                                           Case No.
                                                                   Jr, Joseph Palacino, & Palacino, Rose M.                                                         Chapter 7
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                                                                   Address:                                                                                        petition preparer is not an individual, state
                                                                                                                                                                   the Social Security number of the officer,
                                                                                                                                                                   principal, responsible person, or partner of
                                                                                                                                                                   the bankruptcy petition preparer.)
                                                                                                                                                                   (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Jr, Joseph Palacino, & Palacino, Rose M.                               X /s/ Joseph Palacino, Jr                                   9/29/2018
                                                                   Printed Name(s) of Debtor(s)                                              Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X /s/ Rose M. Palacino                                      9/29/2018
                                                                                                                                             Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
                       Case 1-18-45660-cec                        Doc 1      Filed 10/01/18            Entered 10/01/18 12:10:22



              Fill in this information to identify your case:

 Debtor 1                 Joseph Palacino, Jr
                          First Name                        Middle Name                Last Name

 Debtor 2                 Rose M. Palacino
 (Spouse if, filing)      First Name                        Middle Name                Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number
 (if known)
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?

    Creditor's                                                             Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation    Yes
    Description of                                                          Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:

    Creditor's                                                             Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation    Yes
    Description of                                                          Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:

    Creditor's                                                             Surrender the property.                               No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a Reaffirmation    Yes
    Description of                                                          Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:

    Creditor's                                                             Surrender the property.                               No


Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                        page 1

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                      Case 1-18-45660-cec                      Doc 1       Filed 10/01/18           Entered 10/01/18 12:10:22



 Debtor 1
 Debtor 2      Jr, Joseph Palacino, & Palacino, Rose M.                                              Case number (if known)


     name:                                                              Retain the property and redeem it.                         Yes
                                                                        Retain the property and enter into a Reaffirmation
     Description of                                                        Agreement.
     property                                                           Retain the property and [explain]:
     securing debt:



 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:              Lincoln Automotive Financial Service                                                              No
                                                                                                                                 Yes

 Description of leased       Installment account opened 3/14/2012
 Property:                    Credit Limit: $30,663.00, Remaining Balance: $772.00


 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Joseph Palacino, Jr                                                    X /s/ Rose M. Palacino
       Joseph Palacino, Jr                                                            Rose M. Palacino
       Signature of Debtor 1                                                          Signature of Debtor 2

       Date        September 29, 2018                                             Date      September 29, 2018




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                        page 2

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                         Case 1-18-45660-cec                     Doc 1         Filed 10/01/18          Entered 10/01/18 12:10:22



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)                                                           Chapter you are filing under:

                                                                                 Chapter 7
                                                                                  Chapter 11
                                                                                  Chapter 12
                                                                                  Chapter 13                                        Check if this an amended
                                                                                                                                      filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Joseph                                                            Rose
     your government-issued          First name                                                        First name
     picture identification (for
     example, your driver's          Palacino,                                                         M.
     license or passport).           Middle name                                                       Middle name
     Bring your picture
     identification to your meeting
                                    Jr                                                                 Palacino
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                           Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have                                                                          Rose Carbonara
     used in the last 8 years                                                                          Rose Lambiase
     Include your married or                                                                           Rose Lambiasi-Palacino
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-3186                                                       xxx-xx-4698
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 1
                        Case 1-18-45660-cec                 Doc 1         Filed 10/01/18        Entered 10/01/18 12:10:22

Debtor 1
Debtor 2   Jr, Joseph Palacino, & Palacino, Rose M.                                                    Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 707 Davis Ave
                                 Staten Island, NY 10310-3107
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Richmond
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                        district.                                                        lived in this district longer than in any other district.

                                       I have another reason.                                          I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
                       Case 1-18-45660-cec                   Doc 1           Filed 10/01/18          Entered 10/01/18 12:10:22

Debtor 1
Debtor 2    Jr, Joseph Palacino, & Palacino, Rose M.                                                       Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                   Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                   When                             Case number
                                             District                                   When                             Case number
                                             District                                   When                             Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known



11. Do you rent your
    residence?
                                  No.         Go to line 12.

                                   Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                        bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18             Entered 10/01/18 12:10:22

Debtor 1
Debtor 2    Jr, Joseph Palacino, & Palacino, Rose M.                                                          Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18          Entered 10/01/18 12:10:22

Debtor 1
Debtor 2    Jr, Joseph Palacino, & Palacino, Rose M.                                                      Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
    briefing about credit
                                      Icounseling
                                           received a briefing from an approved credit
                                                      agency within the 180 days before I
                                                                                                      Icounseling
                                                                                                          received a briefing from an approved credit
                                                                                                                     agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
                        Case 1-18-45660-cec                   Doc 1         Filed 10/01/18             Entered 10/01/18 12:10:22

Debtor 1
Debtor 2    Jr, Joseph Palacino, & Palacino, Rose M.                                                         Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                   Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                             No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Joseph Palacino, Jr                                            /s/ Rose M. Palacino
                                   Joseph Palacino, Jr                                                Rose M. Palacino
                                   Signature of Debtor 1                                              Signature of Debtor 2

                                   Executed on      September 29, 2018                                Executed on      September 29, 2018
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
                      Case 1-18-45660-cec                       Doc 1    Filed 10/01/18              Entered 10/01/18 12:10:22

Debtor 1
Debtor 2   Jr, Joseph Palacino, & Palacino, Rose M.                                                          Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Kevin Zazzera                                                     Date         September 29, 2018
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Kevin Zazzera
                                Printed name

                                Kevin B. Zazzera, Esq.
                                Firm name


                                182 Rose Ave Ste 3
                                Staten Island, NY 10306-2900
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                   Email address         kzazz007@yahoo.com
                                Kevin Zazzera
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
                        Case 1-18-45660-cec                       Doc 1            Filed 10/01/18         Entered 10/01/18 12:10:22


             Fill in this information to identify your case and this filing:

 Debtor 1                 Joseph Palacino, Jr
                          First Name                        Middle Name                   Last Name

 Debtor 2                 Rose M. Palacino
 (Spouse, if filing)      First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the:          EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number                                                                                                                                     Check if this is an
                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
    Yes.      Where is the property?


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1      Make:     Ford                                     Who has an interest in the property? Check one       Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:    F150 Pickup 2WD                           Debtor 1 only                                      Creditors Who Have Claims Secured by Property .
           Year:     1999                                      Debtor 2 only                                      Current value of the      Current value of the
           Approximate mileage:    146000                     Debtor 1 and Debtor 2 only                          entire property?          portion you own?
           Other information:                                  At least one of the debtors and another

                                                               Check if this is community property                         $1,000.00                   $1,000.00
                                                                  (see instructions)



  3.2      Make:       Chevrolet                              Who has an interest in the property? Check one       Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:      Blazer 2WD                              Debtor 1 only                                      Creditors Who Have Claims Secured by Property .
           Year:       2002                                    Debtor 2 only                                      Current value of the      Current value of the
           Approximate mileage:             120000            Debtor 1 and Debtor 2 only                          entire property?          portion you own?
           Other information:                                  At least one of the debtors and another

                                                               Check if this is community property                            $700.00                     $700.00
                                                                  (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes



Official Form 106A/B                                                      Schedule A/B: Property                                                                page 1
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                      Case 1-18-45660-cec                      Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2       Jr, Joseph Palacino, & Palacino, Rose M.                                                       Case number (if known)


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>            $1,700.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                        Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   furniture                                                                                                          $1,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
     Yes.    Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.    Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   clothes                                                                                                              $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.    Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.    Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.    Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                 $1,400.00


Official Form 106A/B                                                Schedule A/B: Property                                                                  page 2
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                           Case 1-18-45660-cec                                    Doc 1              Filed 10/01/18           Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2          Jr, Joseph Palacino, & Palacino, Rose M.                                                                       Case number (if known)

 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                               Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                                     cash                                $100.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                              17.1.      Checking Account                       MCU checking                                                             $100.00



                                              17.2.      Checking Account                       RCSB checking                                                            $100.00



                                              17.3.      Savings Account                        MCU savings                                                                 $5.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                            Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                  Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
Official Form 106A/B                                                                     Schedule A/B: Property                                                              page 3
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                         Case 1-18-45660-cec                  Doc 1        Filed 10/01/18             Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2       Jr, Joseph Palacino, & Palacino, Rose M.                                                  Case number (if known)

    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.    Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.    Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.    Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                            Beneficiary:                            Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.    Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.    Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.    Describe each claim.........

35. Any financial assets you did not already list
    No
Official Form 106A/B                                              Schedule A/B: Property                                                                    page 4
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                          Case 1-18-45660-cec                                Doc 1             Filed 10/01/18                     Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2         Jr, Joseph Palacino, & Palacino, Rose M.                                                                              Case number (if known)

     Yes.      Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................              $305.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                               $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $0.00
 56. Part 2: Total vehicles, line 5                                                                             $1,700.00
 57. Part 3: Total personal and household items, line 15                                                        $1,400.00
 58. Part 4: Total financial assets, line 36                                                                      $305.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $3,405.00             Copy personal property total     $3,405.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $3,405.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                   page 5
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                        Case 1-18-45660-cec                       Doc 1        Filed 10/01/18                Entered 10/01/18 12:10:22


              Fill in this information to identify your case:

 Debtor 1                 Joseph Palacino, Jr
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.          11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 1 Exemptions
   Ford                                                               $1,000.00                                                  11 USC § 522(d)(2)
   F150 Pickup 2WD
   1999                                                                                      100% of fair market value, up to
   146000                                                                                     any applicable statutory limit
      Line from Schedule A/B: 3.1

      Chevrolet                                                           $700.00                                                11 USC § 522(d)(2)
      Blazer 2WD
      2002                                                                                   100% of fair market value, up to
      120000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.2

      furniture                                                       $1,000.00                                                  11 USC § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      clothes                                                             $400.00                                                11 USC § 522(d)(3)
      Line from Schedule A/B: 11.1
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      cash                                                                $100.00                                                11 USC § 522(d)(5)
      Line from Schedule A/B: 16.1
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 3
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                        Case 1-18-45660-cec                     Doc 1        Filed 10/01/18            Entered 10/01/18 12:10:22


     Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     MCU checking                                                     $100.00                                              11 USC § 522(d)(5)
     Line from Schedule A/B: 17.1
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     RCSB checking                                                    $100.00                                              11 USC § 522(d)(5)
     Line from Schedule A/B: 17.2
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     MCU savings                                                         $5.00                                             11 USC § 522(d)(5)
     Line from Schedule A/B: 17.3
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 3
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                            Case 1-18-45660-cec                   Doc 1        Filed 10/01/18                Entered 10/01/18 12:10:22



 Fill in this information to identify your case:

 Debtor 1
                             First Name                     Middle Name                     Last Name

 Debtor 2                    Rose M. Palacino
 (Spouse if, filing)         First Name                     Middle Name                     Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.          11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 2 Exemptions
      Brief description:
      Line from Schedule A/B:
                                                                                         
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 3 of 3
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                           Case 1-18-45660-cec                     Doc 1          Filed 10/01/18             Entered 10/01/18 12:10:22


              Fill in this information to identify your case:

 Debtor 1                   Joseph Palacino, Jr
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Rose M. Palacino
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Capital One Auto
 2.1                                              Describe the property that secures the claim:                 $14,570.00                      $0.00         $14,570.00
         Finance
         Creditor's Name

         Attn: Bankruptcy
         PO Box 30285                             As of the date you file, the claim is: Check all that
         Salt Lake City, UT                       apply.
         84130-0285                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2016-01-28                Last 4 digits of account number        1001

 2.2     Wells Fargo Home Mor                     Describe the property that secures the claim:                 $80,451.00                      $0.00         $80,451.00
         Creditor's Name

         Attn Bankruptcy Dept
         PO Box 10335                             As of the date you file, the claim is: Check all that
         Des Moines, IA                           apply.
         50306-0335                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
 Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2003-10-24                Last 4 digits of account number        0403

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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                      Case 1-18-45660-cec                    Doc 1          Filed 10/01/18              Entered 10/01/18 12:10:22


 Debtor 1 Joseph Palacino, Jr                                                                      Case number (if know)
             First Name                Middle Name                 Last Name
 Debtor 2 Rose M. Palacino
             First Name                Middle Name                 Last Name




 Add the dollar value of your entries in Column A on this page. Write that number here:                          $95,021.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                         $95,021.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.1
        Cap One Auto
        3901 Dallas Pkwy                                                                   Last 4 digits of account number   1001
        Plano, TX 75093-7864

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.2
        Wfhm
        8480 Stagecoach Cir                                                                Last 4 digits of account number   0403
        Frederick, MD 21701-4747




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                              page 2 of 2
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                         Case 1-18-45660-cec                       Doc 1          Filed 10/01/18                 Entered 10/01/18 12:10:22


      Fill in this information to identify your case:

 Debtor 1                  Joseph Palacino, Jr
                           First Name                       Middle Name                          Last Name

 Debtor 2                  Rose M. Palacino
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          Arstrat, LLC                                           Last 4 digits of account number         xxxx                                                          $170.00
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?
              PO Box 33720
              Detroit, MI 48232-3720
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Debtor 1 only                                         Contingent
               Debtor 2 only                                         Unliquidated
              Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              No                                                     Debts to pension or profit-sharing plans, and other similar debts
                                                                                          medical multi invoices -Northshore LIJ
               Yes                                                  Other. Specify      Med




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

 4.2      Arstrat, LLC                                          Last 4 digits of account number       xxxx                                         $165.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 33720
          Detroit, MI 48232-3720
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical multi invoices - SIUH


 4.3      Arstrat, LLC                                          Last 4 digits of account number       9338                                         $300.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 33720
          Detroit, MI 48232-3720
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical multi invoices


 4.4      Capital One                                           Last 4 digits of account number       7481                                        $3,688.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2014-07-11
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

 4.5      Capital One                                           Last 4 digits of account number       6842                                        $1,404.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                      When was the debt incurred?           2015-04-17
          PO Box 30285
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


          Convergent healthcare recoveries
 4.6      Inc                                                   Last 4 digits of account number       4534                                          $20.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9800
          Coral Springs, FL 33075-0800
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical - NYCMC Orthopaedics


          Convergent healthcare recoveries
 4.7      Inc                                                   Last 4 digits of account number       3743                                          $20.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 6209
          Champaign, IL 61826-6209
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical - NYU Radiology Assoc




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18                Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

 4.8      Frank Scafuri, III D O ,PC                            Last 4 digits of account number       47                                            $85.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          682 Forest Ave
          Staten Island, NY 10310-2507
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical


 4.9      Frank Scafuri, III D O ,PC                            Last 4 digits of account number       375                                           $20.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          682 Forest Ave
          Staten Island, NY 10310-2507
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical


          Healtcare Associates in Medicine
 4.10     PC                                                    Last 4 digits of account number       xxxx                                         $210.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          2535 Arthur Kill Rd
          Staten Island, NY 10309-1207
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical multi invoices




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

 4.11     Lenox Hill Hospital                                   Last 4 digits of account number       xxx                                         $5,000.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9000
          New Hyde Park, NY 11040-9000
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical - multi open invoices


 4.12     Lenox Hill Hospital                                   Last 4 digits of account number       8513                                         $250.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 5900
          New York, NY 10087-5900
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                       Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical multi invoices


 4.13     New York Presbyterian Hospital                        Last 4 digits of account number       1190                                          $20.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9126
          New York, NY 10087-2126
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

 4.14     New York Presbyterian Hospital                        Last 4 digits of account number       1917                                          $10.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 14000
          Belfast, ME 04915-4033
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

          New York State Dept of Taxation &
 4.15     Financ                                                Last 4 digits of account number       0014                                         $896.58
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 5300
          Albany, NY 12205-0300
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

          New York University Physician
 4.16     Services                                              Last 4 digits of account number       1739                                          $20.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 415662
          Boston, MA 02241-5662
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

          New York University Physician
 4.17     Services                                              Last 4 digits of account number       1739                                          $40.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 415662
          Boston, MA 02241-5662
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical


 4.18     North Shore University Hospital                       Last 4 digits of account number       6904                                          $60.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 27681
          New York, NY 10087-7681
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical


 4.19     Northwell Health                                      Last 4 digits of account number       5001                                         $150.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 29772
          New York, NY 10087-9772
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 7 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

          Northwell Health Physician
 4.20     Partners                                              Last 4 digits of account number       8623                                         $320.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 28372
          New York, NY 10087-8372
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical Dept/ Specialty of Neurology


 4.21     Nortwell Health                                       Last 4 digits of account number       6904                                          $30.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 27681
          New York, NY 10087-7681
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                     medical North Shore Univ Hosp.
           Yes                                                 Other. Specify      Manhasset

 4.22     NSLIJ                                                 Last 4 digits of account number       8623                                         $175.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 28372
          New York, NY 10087-8372
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical multi- Neurosurgery-Neurology




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 8 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

          NYC Dept of Finance Parking
 4.23     Violations                                            Last 4 digits of account number       1337                                         $127.83
          Nonpriority Creditor's Name
          Church Street Station                                 When was the debt incurred?
          PO Box 3615
          New York, NY 10008-3615
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      violation


 4.24     Physicians of University Hospital                     Last 4 digits of account number       8577                                         $446.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1 Edgewater St Fl 6
          Staten Island, NY 10305-4900
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical


 4.25     Professional Claims Bureau Inc                        Last 4 digits of account number       6119                                          $20.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9060
          Hicksville, NY 11802-9060
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      NYH Queens Ctr




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 9 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

 4.26     Professional Claims Bureau Inc                        Last 4 digits of account number       6402                                          $10.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9060
          Hicksville, NY 11802-9060
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      NY Presby. Medical Group


 4.27     Professional Claims Bureau Inc                        Last 4 digits of account number       xxxx                                         $165.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9060
          Hicksville, NY 11802-9060
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical- SIUH


 4.28     Professional Claims Bureau Inc                        Last 4 digits of account number       7553                                         $300.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9060
          Hicksville, NY 11802-9060
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical _ Northwell Health Lenox Hill




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 10 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

 4.29     Professional Claims Bureau Inc                        Last 4 digits of account number       xxxx                                           $65.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9060
          Hicksville, NY 11802-9060
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical Northshore -LIJ Medical Group


 4.30     Richmond University Medical Ctr                       Last 4 digits of account number       5859                                          $300.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 711565
          Newark, NJ 07101
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
          Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.31     Rubin & Rothman                                       Last 4 digits of account number       17RI                                        $10,162.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1787 Veterans Hwy
          Islandia, NY 11749-1500
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Judgment account - FMCC - opened
           Yes                                                 Other. Specify      8/16/2017




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 11 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

 4.32     Shiel Medical Labs                                    Last 4 digits of account number       4278                                         $382.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-02-07
          15916 Union Tpke Ste 302
          Flushing, NY 11366-1955
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.33     Shiel Medical Labs                                    Last 4 digits of account number       4279                                         $382.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-02-07
          15916 Union Tpke Ste 302
          Flushing, NY 11366-1955
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.34     Shiel Medical Labs                                    Last 4 digits of account number       4247                                         $382.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-01-18
          15916 Union Tpke Ste 302
          Flushing, NY 11366-1955
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 12 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

 4.35     Staten island University Hospital                     Last 4 digits of account number       1001                                         $600.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 29772
          New York, NY 10087-9772
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical multi invoices


 4.36     Staten island University Hospital                     Last 4 digits of account number       5012                                          $75.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 29772
          New York, NY 10087-9772
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical multi open invoices


 4.37     Trans Coninental Credit                               Last 4 digits of account number       3597                                          $50.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 5055
          White Plains, NY 10602-5055
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Richmond Univ med ctr




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 13 of 16
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                        Case 1-18-45660-cec                    Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if know)

          Trans-Continental Credit &
 4.38     Collection Co                                         Last 4 digits of account number       5859                                         $300.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 5055
          White Plains, NY 10602-5055
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical Richmond Nuiv Medical Ctr IP2


 4.39     Transworld Systems INC- HCARE1                        Last 4 digits of account number       7144                                          $20.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 15273
          Wilmington, DE 19850-5273
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.40     Transworld Systems INC- HCARE1                        Last 4 digits of account number       2971                                         $200.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 15273
          Wilmington, DE 19850-5273
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                        Contingent
           Debtor 2 only                                        Unliquidated
          Debtor 1 and Debtor 2 only                            Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      medical- Hosp for joint diseases




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 14 of 16
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                        Case 1-18-45660-cec                     Doc 1          Filed 10/01/18                 Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                       Case number (if know)

 4.41      Transworld Systems INC-KGPORT                          Last 4 digits of account number         5478                                                 $15.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           PO Box 15273
           Wilmington, DE 19850-5273
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                         Contingent
            Debtor 2 only                                         Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify

 4.42      U.S. Department of Education                           Last 4 digits of account number         3132                                              $36,108.00
           Nonpriority Creditor's Name
           ECMC/Bankruptcy                                        When was the debt incurred?             2015-04-13
           PO Box 16408
           Saint Paul, MN 55116-0408
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                         Contingent
           Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
                                                                  Type of NONPRIORITY unsecured claim:
            At least one of the debtors and another
            Check if this claim is for a community               Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify
                                                                                        Installment account
 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                Line 4.4 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Dr                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238-1119
                                                            Last 4 digits of account number                    7481
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Dr                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238-1119
                                                            Last 4 digits of account number                    6842
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
 Pmichaelmk                                                 Line 4.32 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 15916 Union Tpke Ste 302                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Flushing, NY 11366-1955
                                                            Last 4 digits of account number                    4278
 Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?



Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 15 of 16
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                        Case 1-18-45660-cec                       Doc 1         Filed 10/01/18                    Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2 Jr, Joseph Palacino, & Palacino, Rose M.                                                         Case number (if know)

 Pmichaelmk                                                  Line 4.33 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 15916 Union Tpke Ste 302                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Flushing, NY 11366-1955
                                                             Last 4 digits of account number                      4279
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Pmichaelmk                                                  Line 4.34 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 15916 Union Tpke Ste 302                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Flushing, NY 11366-1955
                                                             Last 4 digits of account number                      4247
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Unknown Plaintiff                                           Line 4.31 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
                                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number                      17RI
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 US Dept Ed                                                  Line 4.42 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 4222                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Iowa City, IA 52244-4222
                                                             Last 4 digits of account number                      3132

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                          0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                   36,108.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                   27,055.41

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                   63,163.41




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 16 of 16
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                        Case 1-18-45660-cec                          Doc 1   Filed 10/01/18        Entered 10/01/18 12:10:22


              Fill in this information to identify your case:

 Debtor 1                 Joseph Palacino, Jr
                          First Name                         Middle Name           Last Name

 Debtor 2                 Rose M. Palacino
 (Spouse if, filing)      First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Lincoln Automotive Financial Service                                      Installment account opened 3/14/2012
              Attn: Bankruptcy                                                           Credit Limit: $30,663.00, Remaining Balance: $772.00
              PO Box 542000
              Omaha, NE 68154-8000




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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                          Case 1-18-45660-cec                          Doc 1   Filed 10/01/18      Entered 10/01/18 12:10:22


              Fill in this information to identify your case:

 Debtor 1                   Joseph Palacino, Jr
                            First Name                           Middle Name         Last Name

 Debtor 2                   Rose M. Palacino
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
      Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Frd Motor Cr                                                                           Schedule D, line
                PO Box BOX542000                                                                       Schedule E/F, line
                Omaha, NE 68154                                                                       Schedule G     2.1
                                                                                                      Lincoln Automotive Financial Service




Official Form 106H                                                               Schedule H: Your Codebtors                                    Page 1 of 1
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                         Case 1-18-45660-cec              Doc 1        Filed 10/01/18               Entered 10/01/18 12:10:22




Fill in this information to identify your case:

Debtor 1                      Joseph Palacino, Jr

Debtor 2                      Rose M. Palacino
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF NEW YORK, BROOKLYN
                                              DIVISION

Case number                                                                                                 Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         The City of New York

       Occupation may include student or Employer's address          450 W 33rd St Fl 4
       homemaker, if it applies.
                                                                     New York, NY 10001-2633

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                          For Debtor 1       For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.     $       11,025.43      $               0.00

3.     Estimate and list monthly overtime pay.                                                 3.    +$             0.00     +$              0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.     $    11,025.43             $        0.00




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
                     Case 1-18-45660-cec                Doc 1        Filed 10/01/18              Entered 10/01/18 12:10:22



Debtor 1
Debtor 2    Jr, Joseph Palacino, & Palacino, Rose M.                                                Case number (if known)



                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $     11,025.43       $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $      3,300.77       $               0.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $          0.00       $               0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $        866.67       $               0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $        339.37       $               0.00
      5e.    Insurance                                                                       5e.        $        363.89       $               0.00
      5f.    Domestic support obligations                                                    5f.        $          0.00       $               0.00
      5g.    Union dues                                                                      5g.        $         74.10       $               0.00
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +     $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          4,944.80       $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          6,080.63       $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00   $               0.00
      8b. Interest and dividends                                                             8b.        $              0.00   $               0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00   $        2,000.00
      8d. Unemployment compensation                                                          8d.        $              0.00   $            0.00
      8e.    Social Security                                                                 8e.        $              0.00   $            0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $               0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $          2,000.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            6,080.63 + $      2,000.00 = $           8,080.63
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          8,080.63
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                        page 2
                      Case 1-18-45660-cec                  Doc 1           Filed 10/01/18            Entered 10/01/18 12:10:22




Fill in this information to identify your case:

Debtor 1               Joseph Palacino, Jr                                                                   Check if this is:
                                                                                                              An amended filing
Debtor 2               Rose M. Palacino                                                                       A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NEW YORK,                                              MM / DD / YYYY
                                          BROOKLYN DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
           No
                 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Daughter                             21              Yes
                                                                                                                                         No
                                                                                   Son                                  19              Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           1,500.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                             0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                             0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
                  Case 1-18-45660-cec                      Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22



Debtor 1
Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                  Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              500.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                 0.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              500.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                            1,200.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              400.00
10.   Personal care products and services                                                      10. $                                               200.00
11.   Medical and dental expenses                                                              11. $                                               250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               450.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               150.00
14.   Charitable contributions and religious donations                                         14. $                                                80.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                               300.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               300.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               320.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                             1,240.00
19.   Other payments you make to support others who do not live with you.                           $                                                0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                 0.00
      20b. Real estate taxes                                                                  20b. $                                                 0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                 0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                 0.00
21.   Other: Specify:        pet food/vet                                                      21. +$                                              200.00
      cigarettes                                                                                    +$                                             250.00
      Student tuition-loans                                                                         +$                                             400.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       8,240.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       8,240.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               8,080.63
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              8,240.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -159.37

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                          Case 1-18-45660-cec            Doc 1    Filed 10/01/18           Entered 10/01/18 12:10:22




      Fill in this information to identify your case:

Debtor 1                    Joseph Palacino, Jr
                            First Name             Middle Name             Last Name

Debtor 2                    Rose M. Palacino
(Spouse if, filing)         First Name             Middle Name             Last Name


United States Bankruptcy Court for the:        EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Joseph Palacino, Jr                                           X   /s/ Rose M. Palacino
             Joseph Palacino, Jr                                               Rose M. Palacino
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       September 29, 2018                                     Date    September 29, 2018
                         Case 1-18-45660-cec                             Doc 1            Filed 10/01/18                    Entered 10/01/18 12:10:22


              Fill in this information to identify your case:

 Debtor 1                   Joseph Palacino, Jr
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Rose M. Palacino
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $                3,405.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $                3,405.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $              95,021.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $              63,163.41


                                                                                                                                     Your total liabilities $                   158,184.41


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                8,080.63

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                8,240.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                       Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $   13,025.43


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $                 0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                  $            36,108.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                            $             36,108.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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                        Case 1-18-45660-cec                       Doc 1       Filed 10/01/18             Entered 10/01/18 12:10:22




            Fill in this information to identify your case:

 Debtor 1                 Joseph Palacino, Jr
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Rose M. Palacino
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                            lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                 Debtor 1                                                        Debtor 2
                                                 Sources of income                 Gross income                  Sources of income               Gross income
                                                 Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                   exclusions)                                                   and exclusions)

 From January 1 of current year until            Wages, commissions,                         $89,753.00          Wages, commissions,                             $0.00
 the date you filed for bankruptcy:                                                                              bonuses, tips
                                                 bonuses, tips
                                                  Operating a business                                           Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 1

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                      Case 1-18-45660-cec                         Doc 1       Filed 10/01/18             Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                    Case number (if known)


                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income                  Sources of income             Gross income
                                                  Check all that apply.            (before deductions and        Check all that apply.         (before deductions
                                                                                   exclusions)                                                 and exclusions)

 For last calendar year:                          Wages, commissions,                       $193,923.00          Wages, commissions,                        $0.00
 (January 1 to December 31, 2017 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

 For the calendar year before that:               Wages, commissions,                       $111,855.00          Wages, commissions,                        $0.00
 (January 1 to December 31, 2016 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                Gross income from             Sources of income             Gross income
                                                  Describe below.                  each source                   Describe below.               (before deductions
                                                                                   (before deductions and                                      and exclusions)
                                                                                   exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                   paid             still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid             still owe

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

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                      Case 1-18-45660-cec                        Doc 1         Filed 10/01/18             Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                     Case number (if known)


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                             Nature of the case           Court or agency                          Status of the case
       Case number
       Ford Motor Credit Company LLC                          Judgment                     Civil Court, Richmond                       Pending
       dba Lincoln Automotive Financial                                                    County                                      On appeal
       Services vs. Joseph Palacino ,                                                                                                  Concluded
       ROSE LAMBIASI
       CV00161217RI                                                                                                                 Unsatisfied - $10,162.00
       1612-17


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                            property
                                                              Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per               Describe the gifts                                       Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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                      Case 1-18-45660-cec                         Doc 1        Filed 10/01/18            Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                    Case number (if known)


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                         Dates you                     Value
       more than $600                                                                                                       contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                    Date of your       Value of property
       how the loss occurred                                                                                                loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                 Date payment or          Amount of
       Address                                                        transferred                                           transfer was              payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       Kevin B. Zazzera, Esq.                                         legal fee                                                                      $2,750.00
       182 Rose Ave Ste 3
       Staten Island, NY 10306-2900


       greenpath                                                      credit counseling                                                                $100.00



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                 Date payment or          Amount of
       Address                                                        transferred                                           transfer was              payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                Describe any property or        Date transfer was
       Address                                                        property transferred                    payments received or debts      made
                                                                                                              paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4

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                      Case 1-18-45660-cec                        Doc 1          Filed 10/01/18             Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2      Jr, Joseph Palacino, & Palacino, Rose M.                                                    Case number (if known)


      beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                     Date Transfer was
                                                                                                                                          made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was   Last balance before
       Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,       closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                     have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access             Describe the contents             Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                   have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5

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                        Case 1-18-45660-cec                     Doc 1          Filed 10/01/18                 Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2      Jr, Joseph Palacino, & Palacino, Rose M.                                                       Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
        Name of site                                               Governmental unit                              Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
        Name of site                                               Governmental unit                              Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and       know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
        Case Title                                                 Court or agency                            Nature of the case                    Status of the
        Case Number                                                Name                                                                             case
                                                                   Address (Number, Street, City, State
                                                                   and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                        Describe the nature of the business                   Employer Identification number
        Address                                                                                                    Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                   Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                 Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Joseph Palacino, Jr                                               /s/ Rose M. Palacino
 Joseph Palacino, Jr                                                   Rose M. Palacino
 Signature of Debtor 1                                                 Signature of Debtor 2

 Date      September 29, 2018                                          Date        September 29, 2018

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6

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                      Case 1-18-45660-cec                       Doc 1         Filed 10/01/18             Entered 10/01/18 12:10:22

 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                    Case number (if known)


Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                  page 7

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                         Case 1-18-45660-cec                      Doc 1       Filed 10/01/18             Entered 10/01/18 12:10:22



 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Joseph Palacino, Jr
 Debtor 2              Rose M. Palacino                                                                1. There is no presumption of abuse
 (Spouse, if filing)

                                                  Eastern District of New York, Brooklyn
                                                                                                      2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:                                                                     applies will be made underChapter 7 Means Test
                                                  Division
                                                                                                             Calculation (Official Form 122A-2).
 Case number                                                                                           3. The Means Test does not apply now because of qualified
 (if known)                                                                                                  military service but it could apply later.
                                                                                                        Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
        Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                11,025.43        $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                 2,000.00        $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                       0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                     0.00      $               0.00
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from rental or other real property            $     0.00 Copy here -> $                     0.00      $               0.00
                                                                                                        $              0.00      $               0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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                      Case 1-18-45660-cec                         Doc 1      Filed 10/01/18          Entered 10/01/18 12:10:22


 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                   Case number (if known)



                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                       $                 0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                   $                   0.00
            For your spouse                                           $                   0.00
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act.                                                             $                     0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act or payments received as
      a victim of a war crime, a crime against humanity, or international or domestic terrorism.
      If necessary, list other sources on a separate page and put the total below.
              .                                                                                  $                     0.00       $           0.00
                                                                                                     $                 0.00       $           0.00
                  Total amounts from separate pages, if any.                                     +   $                 0.00       $           0.00
  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $    13,025.43           +   $           0.00   =    $    13,025.43

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:

       12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>            $        13,025.43

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                   12b. $       156,305.16

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                   NY

       Fill in the number of people in your household.                         4
       Fill in the median family income for your state and size of household.                                                    13.          $        98,583.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                   ’
       form. This list may also be available at the bankruptcy clerk
                                                                   s office.

  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                 There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2,
                                                                                     The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Joseph Palacino, Jr                                                 X /s/ Rose M. Palacino
                Joseph Palacino, Jr                                                        Rose M. Palacino
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date September 29, 2018                                                     Date September 29, 2018
             MM / DD / YYYY                                                              MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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                      Case 1-18-45660-cec                     Doc 1        Filed 10/01/18            Entered 10/01/18 12:10:22




 Fill in this information to identify your case:                                                              Check the appropriate box as directed in
                                                                                                              lines 40 or 42:
 Debtor 1           Joseph Palacino, Jr

 Debtor 2           Rose M. Palacino                                                                              According to the calculations required by this
 (Spouse, if filing)                                                                                              Statement:

                                                  Eastern District of New York, Brooklyn                          1. There is no presumption of abuse.
 United States Bankruptcy Court for the:          Division
                                                                                                                   2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                              Check if this is an amended filing
Official Form 122A - 2
Chapter 7 Means Test Calculation                                                                                                                             04/16

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any additional pages,
write your name and case number (if known).

 Part 1:       Determine Your Adjusted Income

 1.    Copy your total current monthly income.                            Copy line 11 from Official Form 122A-1 here=>........        $            13,025.43

 2.    Did you fill out Column B in Part 1 of Form 122A-1?
        No.     Fill in $0 for the total on line 3.
       Yes.     Is your spouse Filing with you?
            No.         Go to line 3.
           Yes.         Fill in $0 the total on line 3.

 3.    Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
       household expenses of you or your dependents. Follow these steps:

       On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household expenses of
       you or your dependents?

       No.      Fill in 0 for the total on line 3.
        Yes.    Fill in the information below:


              State each purpose for which the income was used                                  Fill in the amount you
              For example, the income is used to pay your spouse's tax debt or to               are subtracting from
              support other than you or your dependents.                                        your spouse's income

                                                                                            $

                                                                                            $

                                                                                            $

                    Total.                                                                  $              0.00

                                                                                                                   Copy total here=>...    -$              0.00


 4.    Adjust your current monthly income. Subtract line 3 from line 1.                                                                    $     13,025.43




Official Form 122A-2                                              Chapter 7 Means Test Calculation                                                        page 1
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                       Case 1-18-45660-cec                   Doc 1          Filed 10/01/18         Entered 10/01/18 12:10:22


 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                              Case number (if known)



 Part 2:          Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
    answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions
    for this form. This information may also be available at the bankruptcy clerk's office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
    actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's income in line 3
    and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

    If your expenses differ from month to month, enter the average expense.

    Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


    5.      The number of people used in determining your deductions from income

            Fill in the number of people who could be claimed as exemptions on your federal income tax return, plus the
            number of any additional dependents whom you support. This number may be different from the number of                   4 Living
            people in your household.                                                                                              0 Housing



    National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.



    6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards,
            fill in the dollar amount for food, clothing, and other items.                                                    $                     1,694.00


    7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
            the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
            people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
            higher than this IRS amount, you may deduct the additional amount on line 22.



    People who are under 65 years of age

            7a. Out-of-pocket health care allowance per person          $              52

            7b. Number of people who are under 65                       X          4


            7c. Subtotal. Multiply line 7a by line 7b.                  $        208.00              Copy here=>        $          208.00


    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person          $           114

            7e. Number of people who are 65 or older                    X          0

            7f.   Subtotal. Multiply line 7d by line 7e.                $          0.00              Copy here=>       +$             0.00


            7g. Total. Add line 7c and line 7f                                              $      208.00                    Copy total here => $   208.00




Official Form 122A-2                                            Chapter 7 Means Test Calculation                                                       page 2
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                        Case 1-18-45660-cec                        Doc 1          Filed 10/01/18            Entered 10/01/18 12:10:22


 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                      Case number (if known)


    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.


    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
    purposes into two parts:

    Housing and utilities - Insurance and operating expenses
    Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

    To find the chart, go online using the link specified in the separate instructions for this form.
    This chart may also be available at the bankruptcy clerk's office.


    8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill in
            the dollar amount listed for your county for insurance and operating expenses. ........................................... $                           834.00

    9.      Housing and utilities - Mortgage or rent expenses:

            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses...................................                         $    2,308.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.

                  To calculate the total average monthly payment, add all amounts that are
                  contractually due to each secured creditor in the 60 months after you file for
                  bankruptcy. Then divide by 60.

                 Name of the creditor                                                Average monthly
                                                                                     payment

                  Wells Fargo Home Mor                                               $           1,340.85


                                                                                                                                                     Repeat this
                                                                                                             Copy                                    amount on
                                           Total average monthly payment             $           1,340.85    here=>        -$            1,340.85    line 33a.


            9c. Net mortgage or rent expense.

                  Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                Copy
                  rent expense). If this amount is less than $0, enter $0. ........................             $               967.15      here=>    $            967.15


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
        affects the calculation of your monthly expenses, fill in any additional amount you claim.                                                   $               0.00

             Explain why:

    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

             0. Go to line 14.
             1. Go to line 12.
            2 or more. Go to line 12.

    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
        expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.             $                                    608.00




Official Form 122A-2                                                  Chapter 7 Means Test Calculation                                                              page 3
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                        Case 1-18-45660-cec                       Doc 1         Filed 10/01/18                  Entered 10/01/18 12:10:22


 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                          Case number (if known)



    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below. You
        may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for more than
        two vehicles.


     Vehicle 1         Describe Vehicle 1:
                                                  ,

    13a. Ownership or leasing costs using IRS Local Standard...........................................                $             497.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that are
            contractually due to each secured creditor in the 60 months after you filed for bankruptcy.
            Then divide by 60.

                 Name of each creditor for Vehicle 1                                Average monthly
                                                                                    payment

                 Capital One Auto Finance                                           $             242.83

                                                                                                                                                     Repeat this
                                                                                                                  Copy                               amount on
                                         Total Average Monthly Payment              $             242.83          here =>       -$       242.83      line 33b.



                                                                                                                                                 Copy net
    13c. Net Vehicle 1 ownership or lease expense                                                                                                Vehicle 1
                                                                                                                                                 expense
            Subtract line 13b from line 13a. if this amount is less than $0, enter $0..........................        $             254.17      here => $         254.17



     Vehicle 2         Describe Vehicle 2:


    13d. Ownership or leasing costs using IRS Local Standard.................................................          $             497.00

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                                Average monthly
                                                                                    payment

                 -NONE-                                                             $

                                                                                                                  Copy                            Repeat this
                                                                                                                  here                            amount on line
                                         Total Average Monthly Payment              $                0.00         =>       -$             0.00    33c.



                                                                                                                                                 Copy net
    13f. Net Vehicle 2 ownership or lease expense                                                                                                Vehicle 2
                                                                                                                                                 expense
            Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ........................        $             497.00      here => $         497.00


    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
                                                                                                                      Public
        Transportation expense allowance regardless of whether you use public transportation.                                                               $        0.00

    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
        deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
        more than the IRS Local Standard forPublic Transportation.                                                                 $                                 0.00




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                               page 4
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                       Case 1-18-45660-cec                     Doc 1       Filed 10/01/18             Entered 10/01/18 12:10:22


 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                Case number (if known)




    Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                           the following IRS categories.

    16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
        self-employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
        subtract that number from the total monthly amount that is withheld to pay for taxes.
            Do not include real estate, sales, or use taxes.                                                                                $      3,300.77

    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
        union dues, and uniform costs.
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $      1,280.14

    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
        together, include payments that you make for your spouse's term life insurance. Do not include premiums for life insurance
        on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than term.                    $          0.00

    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
        agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $      1,240.00

    20. Education: The total monthly amount that you pay for education that is either required:
            as a condition for your job, or
            for your physically or mentally challenged dependent child if no public education is available for similar services.           $          0.00

    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
            Do not include payments for any elementary or secondary school education.                                                       $          0.00

    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
        required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
        savings account. Include only the amount that is more than the total entered in line 7.
            Payments for health insurance or health savings accounts should be listed only in line 25.                                      $       250.00

    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services for
        you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
        service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
        is not reimbursed by your employer.
            Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
            expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                     +$          0.00



    24. Add all of the expenses allowed under the IRS expense allowances.                                                                  $    11,133.23
        Add lines 6 through 23.




Official Form 122A-2                                             Chapter 7 Means Test Calculation                                                     page 5
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                       Case 1-18-45660-cec                     Doc 1           Filed 10/01/18         Entered 10/01/18 12:10:22


 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                 Case number (if known)



    Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                 Note: Do not include any expense allowances listed in lines 6-24.

    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
        dependents.
            Health insurance                                               $       363.89
            Disability insurance                                           $          0.00
            Health savings account                                      +$            0.00


            Total                                                         $          363.89        Copy total here=>                        $     363.89


            Do you actually spend this total amount?

                   No. How much do you actually spend?
                   Yes                                                    $
    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
        household or member of your immediate family who is unable to pay for such expenses. These expenses may include
        contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                                         $       0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
        you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

            By law, the court must keep the nature of these expenses confidential.                                                           $       0.00
    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.

            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8,
            then fill in the excess amount of home energy costs.

            You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
            claimed is reasonable and necessary.                                                                                             $       0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $160.42* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
        elementary or secondary school.

            You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
            reasonable and necessary and not already accounted for in lines 6-23.

            * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.             $       0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
        than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of
        the food and clothing allowances in the IRS National Standards.

            To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
            this form. This chart may also be available at the bankruptcy clerk's office.

            You must show that the additional amount claimed is reasonable and necessary.                                                    $       0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                                   +$       0.00


    32. Add all of the additional expense deductions.                                                                                       $    363.89
        Add lines 25 through 31.




Official Form 122A-2                                              Chapter 7 Means Test Calculation                                                  page 6
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                      Case 1-18-45660-cec                        Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22


 Debtor 1
 Debtor 2    Jr, Joseph Palacino, & Palacino, Rose M.                                                       Case number (if known)




    Deductions for Debt Payment

    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans,
        and other secured debt, fill in lines 33a through 33e.
        To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
        the 60 months after you file for bankruptcy. Then divide by 60.

             Mortgages on your home:                                                                                                                 Average monthly
                                                                                                                                                     payment

    33a.     Copy line 9b here                                                                                                              =>       $        1,340.85
             Loans on your first two vehicles:
    33b.     Copy line 13b here                                                                                                             =>       $          242.83
    33c.     Copy line 13e here                                                                                                             =>       $             0.00
    33d.     List other secured debts:
    Name of each creditor for other secured debt                Identify property that secures the debt                    Does payment
                                                                                                                           include taxes or
                                                                                                                           insurance?

                                                                                                                                    No
            -NONE-                                                                                                                  Yes             $

                                                                                                                                    No
                                                                                                                                    Yes             $

                                                                                                                                    No
                                                                                                                                    Yes           +$


                                                                                                                                                 Copy
                                                                                                                                                 total
    33e. Total average monthly payment. Add lines 33a through 33d                                               $           1,583.68             here=>   $    1,583.68

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or
        other property necessary for your support or the support of your dependents?

         No.     Go to line 35.
            Yes. State any amount that you must pay to a creditor, in addition to the payments listed in
                  line 33, to keep possession of your property (called the cure amount). Next, divide by
                  60 and fill in the information below.

     Name of the creditor                                   Identify property that secures the debt                     Total cure                        Monthly cure
                                                                                                                        amount                            amount

     -NONE-                                                                                                         $                       ÷ 60 = $


                                                                                                                                                 Copy
                                                                                                                                                 total
                                                                                                          Total $                    0.00        here=>   $              0.00


    35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

         No.     Go to line 36.
            Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
                  priority claims, such as those you listed in line 19.
                      Total amount of all past-due priority claims                                              $                    0.00 ÷ 60 = $                       0.00




Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                                     page 7
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                       Case 1-18-45660-cec                     Doc 1         Filed 10/01/18               Entered 10/01/18 12:10:22


 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                    Case number (if known)


    36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
        For more information, go online using the link forBankruptcy Basics specified in the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

         No.      Go to line 37.
             Yes. Fill in the following information.
                     Projected monthly plan payment if you were filing under Chapter 13                        $
                     Current multiplier for your district as stated on the list issued by the
                     Administrative Office of the United States Courts (for districts in Alabama
                     and North Carolina) or by the Executive Office for United States Trustees (for
                     all other districts).                                                                     X


                     To find a list of district multipliers that includes your district, go online using the
                     link specified in the separate instructions for this form. This list may also be
                     available at the bankruptcy clerk’   s office.
                                                                                                                                             Copy total
                     Average monthly administrative expense if you were filing under Chapter 13                    $                         here=> $




    37. Add all of the deductions for debt payment.                                                                                                        $     1,583.68
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                        $          11,133.23
            Copy line 32, All of the additional expense deductions                    $               363.89
            Copy line 37, All of the deductions for debt payment                    +$            1,583.68


                                                            Total deductions          $          13,080.80             Copy total here...........=>       $      13,080.80


 Part 3:        Determine Whether There is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months
            39a. Copy line 4, adjusted current monthly income                         $          13,025.43
            39b. Copy line 38,Total deductions                                      -$           13,080.80

            39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                     Copy
                 Subtract line 39b from line 39a                                      $                 0.00           here=>$                            0.00


            For the next 60 months (5 years)                                                                                          x 60

                                                                                                                                    Copy
            39d. Total. Multiply line 39c by 60                                                   $                      0.00       here=>            $              0.00


    40. Find out whether there is a presumption of abuse. Check the box that applies:

         The line 39d is less than $7,700*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.
             The line 39d is more than $12,850*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out Part 4
              if you claim special circumstances. Go to Part 5.
             The line 39d is at least $7,700*, but not more than $12,850*. Go to line 41.
        *Subject to adjustment on 4/01/19, and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 122A-2                                              Chapter 7 Means Test Calculation                                                                    page 8
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 Debtor 1
 Debtor 2     Jr, Joseph Palacino, & Palacino, Rose M.                                                                            Case number (if known)




    41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
                   Summary of Your Assets and Liabilities and Certain Statistical Information
                   Schedules (Official Form 106Sum), you may refer to line 3b on that form.     41a. $
                                                                                                                                              x     .25
                                                                                                                                                            Copy
              41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                           $                 here=>   $
                     Multiply line 41a by 0.25.....................................................................................

    42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay 25%
        of your unsecured, nonpriority debt.
        Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
              Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption of
              abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances

 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
     reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


      No.       Go to Part 5.

           Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each item.
                 You may include expenses you listed in line 25.

                 You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                 necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                 adjustments.



                  Give a detailed explanation of the special circumstances                                                        Average monthly expense
                                                                                                                                  or income adjustment

                                                                                                                                      $

                                                                                                                                      $

                                                                                                                                      $

                                                                                                                                      $


 Part 5:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Joseph Palacino, Jr                                                                      X /s/ Rose M. Palacino
                 Joseph Palacino, Jr                                                                             Rose M. Palacino
                 Signature of Debtor 1                                                                           Signature of Debtor 2
          Date September 29, 2018                                                                       Date September 29, 2018
               MM / DD / YYYY                                                                                MM / DD / YYYY




Official Form 122A-2                                                           Chapter 7 Means Test Calculation                                                          page 9
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                      Case 1-18-45660-cec                   Doc 1        Filed 10/01/18        Entered 10/01/18 12:10:22



      Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                   $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1

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                      Case 1-18-45660-cec                   Doc 1        Filed 10/01/18            Entered 10/01/18 12:10:22




        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,717    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2

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                      Case 1-18-45660-cec                   Doc 1        Filed 10/01/18          Entered 10/01/18 12:10:22


        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3

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                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you
        of perjury—either orally or in writing—in                                         generally must complete a financial management
        connection with a bankruptcy case, you may be                                     instructional course before you can receive a
        fined, imprisoned, or both.                                                       discharge. If you are filing a joint case, both spouses
                                                                                          must complete the course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4

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B2030 (Form 2030) (12/15)
                                                            United States Bankruptcy Court
                                                     Eastern District of New York, Brooklyn Division
 In re       Jr, Joseph Palacino, & Palacino, Rose M.                                                        Case No.
                                                                             Debtor(s)                       Chapter      7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    2,750.00
             Prior to the filing of this statement I have received                                       $                    2,750.00
             Balance Due                                                                                 $                        0.00

2.     The source of the compensation paid to me was:
                   Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 29, 2018                                                      /s/ Kevin Zazzera
     Date                                                                    Kevin Zazzera
                                                                             Signature of Attorney
                                                                             Kevin B. Zazzera, Esq.

                                                                             182 Rose Ave Ste 3
                                                                             Staten Island, NY 10306-2900

                                                                             kzazz007@yahoo.com
                                                                             Name of law firm




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